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                            UNITED STATES BANKRUPTCY COURT
                               MIDDLE DISTRICT OF FLORIDA
                                 JACKSONVILLE DIVISION
                                    www.flmb.uscourts.gov

In re:
                                                        Case No. 3:23-bk-00938-JAB
Franklin Southern Manufacturing, LLC,                   Chapter 11
                                                        Subchapter V
         Debtor.
                                                /

20-20 SOLUTIONS LLC’S (I) MOTION TO COMPEL COMPLIANCE WITH AGREED
  ORDER GRANTING 20-20 SOLUTIONS LLC’S MOTION FOR ALLOWANCE OF
ADMINISTRATIVE EXPENSE AND TO COMPEL PAYMENT AND ENFORCE PLAN
 AND (II) LIMITED OBJECTION TO DEBTOR’S AMENDED MOTION TO OBTAIN
       SECURED CREDIT PURSUANT TO FACTORING AGREEMENT WITH
   AMERIFACTORS FINANCIAL GROUP, LLC PURSUANT TO 11 U.S.C. § 364(d)

         20-20 Solutions LLC d/b/a 20/20 Metals (“20/20 Metals”), a creditor in the above-

captioned case, moves this Court for entry of an order compelling compliance with this Court’s

Agreed Order Granting 20-20 Solutions LLC’s Motion for Allowance of Administrative Expense

and to Compel Payment (the “Administrative Expense Order”) [ECF No. 118] and Order

Confirming Debtor’s Subchapter V Plan of Reorganization (Dated July 14, 2023) (the

“Confirmation Order”) [ECF No. 143] which required Franklin Southern Manufacturing, LLC (the

“Debtor”) to pay 20/20 metals $41,229.30 on or before September 20, 2023, and files this limited

objection to the Debtor’s Amended Motion to Obtain Secured Credit Pursuant to Factoring

Agreement with Amerifactors Financial Group, LLC Pursuant to 11 U.S.C. § 364(d) (the

“Financing Motion”) [ECF No. 151], and in support states:

         1.        On August 14, 2023, 20/20 Metals filed its Motion for Allowance of Administrative

Expense and to Compel Payment (the “Administrative Expense Motion”) [ECF No. 95]. In the

Administrative Expense Motion, 20/20 Metals sought payment in the amount of $41,229.30 for

post-petition goods delivered to the Debtor that the Debtor failed to pay.
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         2.     On September 14, 2023, the Court entered the Administrative Expense Order,

whereby it granted the Administrative Expense Motion and ordered the Debtor to pay $41,229.30

to 20/20 Metals on or before September 20, 2023.

         3.     On September 27, 2023, the Court entered the Confirmation Order, which

confirmed the Debtor’s Sub-Chapter V Plan of Reorganization (the “Plan”) [ECF No. 54] and

incorporated the Debtor’s obligation to pay 20/20 Metals $41,229.30 on or before September 20,

2023.

         4.     The Debtor failed to pay 20/20 Metals on or before September 20, 2023.

         5.     Counsel for 20/20 Metals advised counsel for the Debtor of the Debtor’s failure to

comply with the Administrative Expense Order and Confirmation Order and advised that if

payment was not received by September 29, 2023, then 20/20 Metals would seek relief from this

Court.

         6.     As of the filing of this Motion, the Debtor still has not paid 20/20 Metals the

$41,229.30.

         7.     On October 12, 2023, the Debtor filed the Financing Motion. In the Financing

Motion, the Debtor acknowledged that it was delinquent in its obligation to pay 20/20 Metals the

$41,229.30. The Debtor asserts that it is attempting to obtain financing to pay the 20/20 Metals’

claim and the $282,749.31 claim of Eastgroup Properties, LP through the factoring of purported

receivables.

         8.     20/20 Metals does not object to the Debtor obtaining financing to pay the 20/20

Metals’ claim. However, the Financing Motion fails to provide critical details, i.e., the amount of

receivables the Debtor currently has, the amount of funds that the Debtor will actually receive if

the Financing Motion is approved, the date upon which the Debtor will receive funds if the

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Financing Motion is approved, the current status of the Debtor’s business operations, and the date

upon which the Debtor will pay 20/20 Metals’ claim.

         9.     20/20 Metals also notes that the Debtor’s requirement to pay 20/20 Metals’ claim

is not contingent upon approval of the Financing Motion, and the payment of 20/20 Metals’ claim

is not limited to the proceeds of any financing the Debtor obtains pursuant to the Financing Motion

or otherwise.

         WHEREFORE, 20/20 Metals respectfully requests this Court to enter an order (i)

compelling the Debtor to immediately pay 20/20 Metals $41,229.30; (ii) awarding 20/20 Metals

its fees and costs, including reasonable attorneys’ fees, for the filing of this Motion; (iii) to the

extent that the Court approves the Financing Motion, requiring the Debtor to immediately pay

20/20 Metals upon receipt of funds from the Financing Motion; and (iv) granting such other and

further relief as the Court deems just and proper under the circumstances.

Dated: October 16, 2023                       Respectfully submitted,

                                              LEWIS BRISBOIS BISGAARD & SMITH LLP
                                              Counsel for 20-20 Solutions LLC d/b/a 20/20 Metals
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                                              By: /s/ Vincent F. Alexander
                                                      Vincent F. Alexander
                                                      Fla. Bar No. 68114




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                                CERTIFICATE OF SERVICE
         I CERTIFY that on October 16, 2023, I electronically filed the foregoing document with

the Clerk of Court using CM/ECF. I also certify that the foregoing document is being served this

day by transmission of Notice of Electronic Filing generated by CM/ECF on all counsel of record

or pro se parties who are authorized to receive electronically Notice of Electronic Filing in this

chapter 11 case.

                                                    By: /s/ Vincent F. Alexander
                                                            Vincent F. Alexander




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